                 Case: 3:15-cr-00054-wmc Document #: 101 Filed: 11/17/15 Page 1 of 1
                                   COURTROOM MINUTES
                                ARRAIGNMENT/PLEA HEARING

DATE:_____________
      11/17/2015       DAY:_______________
                             Tuesday          START TIME:_____________
                                                           1:03 pm     END TIME:_______________
                                                                                  1:45 pm

JUDGE/MAG.:____________________
             WMC                     CLERK:____________________
                                             JLS                REPORTER:____________________
                                                                           CS
                    J. Harris
PROBATION OFFICER:_________________ INTERPRETER:__________________         SWORN: YES      NO
CASE NUMBER:_________________
              15-cr-54-wmc-2          CASE NAME: USA v. ________________________________________
                                                          Amandou Camara

APPEARANCES:
ASST. U.S. ATTY.:_________________________
                  Robert Anderson                 DEFENDANT ATTY.:_____________________________
                                                                    Gregory Dutch

                  _________________________                          _____________________________
                                                  DEFENDANT PRESENT: YES          NO
OFFENSE INFORMATION:
                         1
MAXIMUM PENALTY: CT(S) _______________;   20
                                        _______________                        1,000,000
                                                        YR(S) IMPRISONMENT; $________________ FINE;
 3
_________ YEAR(S) SUPERVISED RELEASE;   $_____________
                                          100           SPECIAL ASSESSMENT;            RESTITUTION.
                   23
DEFENDANT AGE:__________       INDICTMENT/INFORMATION READ           DEFENDANT WAIVES READING
PLEA:
        GUILTY                     DEFENDANT SWORN
        NOT GUILTY                 PLEA ACCEPTED AS KNOWING AND VOLUNTARY
        NO CONTEST                 DEFT. ADJUDGED GUILTY BY COURT
        MUTE
TRIAL SCHEDULE:
   JURY SEL./TRIAL: _________________________        TRIAL ESTIMATE:____________ DAYS
   PTMH/EVID. HRG.: _________________________        MOTIONS DUE:____________________
   FPTC:              _________________________      FPTC SUBMISSIONS:________________
   FINAL HEARING: _________________________
SENTENCING SCHEDULE:
   PRESENTENCE REPORT DUE:________________
                              12/29/2015             OBJECTIONS DUE:_______________
                                                                      1/12/2016

   SENTENCING :_______________
                 2/2/2016      at ____________
                                   1:00 pm

RELEASE/DETENTION:
        ORDER SETTING CONDITIONS OF RELEASE ENTERED/AFFIRMED.
        DEFENDANT DETAINED PENDING TRIAL/SENTENCING.
        DEFENDANT TEMPORARILY DETAINED; DETENTION HEARING:______________________________
NOTES:
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
                                                                                       42 min
                                                                    TOTAL COURT TIME:__________
